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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT
POPTECH, L.P.,                                         )
                                                       )    CIVIL ACTION NO.:
Plaintiff,                                             )    3:10-cv-00967 (MRK)
                                                       )
v.                                                     )
                                                       )
STEWARDSHIP INVESTMENT                                 )
ADVISORS, LLC, et al.,                                 )
                                                       )
Defendants.                                            )             MAY 2, 2011



                      DEFENDANT PAUL SEIDENWAR’S
                     MEMORANDUM OF LAW IN SUPPORT
         OF HIS MOTION TO DISMISS THE SECOND AMENDED COMPLAINT


             Defendant Paul Seidenwar (“Seidenwar”) respectfully submits this memorandum

     in support of his motion, pursuant to Fed.R.Civ.P §§ 9(b), 12(b)(1), 12(b)(6) and the

     Private Securities Litigation Reform Act of 1995 (“PSLRA”), to dismiss the Second

     Amended Complaint (“SAC”). In addition to the arguments set forth below, Seidenwar

     adopts and incorporates by reference the arguments set forth in Defendant Paul

     Seidenwar’s Memorandum of Law in Support of His Motion to Dismiss the Amended

     Complaint, filed February 14, 2011 (“Seidenwar Memo”), and Defendant Paul

     Seidenwar’s Reply Memorandum of Law in Further Support of His Motion to Dismiss the

     Amended Complaint, filed April 8, 2011 (“Seidenwar Reply”), as well as the arguments

     for dismissal advanced by any other defendants, as applicable to Seidenwar.

                                        INTRODUCTION

             Plaintiff asserts claims against Seidenwar in the SAC filed April 26, 2011. The

     claims against Seidenwar appear in Counts II and IV of the SAC asserting that, during the
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class period, Seidenwar was a controlling person of Stewardship Credit Arbitrage Fund,

LLC (the “Fund”), Stewardship Investment Advisors, LLC (“SIA”) and Acorn Capital

Group, LLC (“Acorn”) and an aider and abettor under Connecticut state law.

       As set forth in the Seidenwar Memo and Seidenwar Reply, as well as the

argument below, Count II must be dismissed because Plaintiff fails to state a claim in

accordance with the standards set forth in Fed.R.Civ.P §§ 9(b), 12(b)(6) and the PSLRA.

In order to satisfy these pleading standards with regard to an alleged violation of § 20(a)

of the Securities Exchange Act of 1934 (the “Exchange Act”), Plaintiff must plead three

elements: (a) a primary violation by a controlled person; (b) that Seidenwar actually

controlled a primary violator; and (c) Seidenwar’s “culpable participation” in the primary

violation. The SAC is woefully inadequate as to each of these elements.

       Moreover, because Count II contains the sole federal claim against Seidenwar,

Count IV should be dismissed for lack of subject matter jurisdiction. Count IV asserts a

claim of aiding and abetting a violation of the Connecticut Uniform Securities Act.

                     PROCEDURAL HISTORY OF THIS CASE

       On December 13, 2010, Plaintiff filed an Amended Class Action Complaint that

named Paul Seidenwar as a defendant. Seidenwar had not been named in the original

complaint filed in this matter. On February 14, 2011, Seidenwar made a motion to

dismiss that complaint. Plaintiff filed its opposition to that motion on March 22, 2011.

Seidenwar’s Reply was filed on April 8, 2011. The Court scheduled oral argument on the

motion to dismiss for May 4, 2011.

       On March 28, 2011, Plaintiff filed a Notice of Supplemental Developments and

Request for Conference. In that notice, Plaintiff made the Court aware of a case that had




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been filed by the United States Securities & Exchange Commission (“SEC”) in the

United States District Court for the District of Minnesota against Defendants Marlon

Quan, Acorn Capital Group, LLC (“Acorn”), and Stewardship Investment Advisors, LLC

(“SIA”) alleging violations of the federal securities laws. Certain of the documents filed

in the SEC case were attached as exhibits to that notice.

        Following a conference call with the Court and all parties in this and a related

case, the Court granted Poptech leave to file a motion to further amend its complaint

based upon information gleaned from the SEC action in Minnesota. On April 25, 2011,

Poptech filed its motion to amend attaching the proposed SAC as an exhibit. After

discussions with counsel for Poptech, Seidenwar has waived objection to the amendment

of the complaint, but retained his right to renew his motion to dismiss the complaint.

                                      ARGUMENT

             I. THE NEW ALLEGATIONS SET FORTH IN THE SAC
                  FAIL TO CURE THE DEFECTS SET FORTH
              PREVIOUSLY IN SEIDENWAR’S MEMO AND REPLY


       We have previously briefed our argument concerning the requirements for

sufficiently pleading control person liability and have argued that the allegations in the

Amended Complaint failed to state a claim based upon those requirements. We submit

that the newly added allegations in the SAC also fail to state a claim of control person

liability under §20(a) of the Securities Exchange Act of 1934. We will address the new

allegations from the standpoint of whether they establish a reasonable inference that




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Seidenwar: 1) controlled any of the alleged primary violators; and, 2) was a culpable

participant in any of the alleged primary violations.1

         Initially, it is important to note that a number of the new allegations are based

upon and reference specific documents that were included as exhibits in the Minnesota

case, SEC v. Quan, et. al, 11-cv-723 (JRT-SER). In several instances, the SAC

allegations regarding Seidenwar either do not accurately represent the contents of a

document or take statements out of context. While the law requires the Court to take the

factual allegations of the complaint as true for the purpose of considering a 12(b)(6)

motion to dismiss, where the allegations purport to accurately restate the contents of a

document, we submit that the Court should examine the document to determine whether

plaintiff’s counsel has a good faith basis for the allegation as set forth in the complaint.

Therefore, in discussing the new allegations, in some instances the document upon which

the allegation purportedly is based is attached as an exhibit to this memorandum of law.

         The new allegations can be categorized as relating to: 1) alleged deficiencies in

due diligence and Seidenwar’s knowledge thereof; 2) Seidenwar’s knowledge

concerning payment methods and delays in payments due from the PAC Funding/Petters

loans; 3) Seidenwar’s involvement in the restructuring of those loans; and, 4)

Seidenwar’s failure to disclose his knowledge of the aforementioned deficiencies, late

payments and loan restructurings. Conspicuously absent from the new allegations, as

well as the prior allegations, are any factual allegations from which it can reasonably be

inferred that Seidenwar exercised control over any other defendant or culpably
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  We continue to assert that the complaint is not sufficient to state a claim with regard to any of the alleged
primary violations, but do so by way of incorporating the arguments of the other defendants. The law is
clear that if no primary violation is adequately alleged, control person liability does not exist. We will
address herein the reasons why, even if the Court denies the motions to dismiss as to the primary violations,
the SAC fails to make out control person liability with regard to the other two prongs of the well-
established legal test.


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participated in any of the investor communications that constitute the alleged primary

violations.

        As we have stated previously, according to all of the allegations in the SAC,

Seidenwar was an employee of Acorn, which is alleged to be an entity engaged in asset

based lending.    It is further alleged that Acorn sold the loans it made to SCAF, an

investment fund managed by SIA, the investment manager. The allegations, taken as a

whole, lead to a strong inference that Quan, and Quan alone, controlled Acorn, SCAF and

SIA. There is not a single factual allegation leading to any reasonable inference that

Seidenwar exercised control over Quan, Acorn, SCAF or SIA. Moreover, there is not a

single factual allegation that Seidenwar had any involvement in the investor

communications issued by SCAF and SIA or any knowledge as to the contents of those

investor communications. Furthermore, there are no factual allegations leading to a

reasonable inference that Seidenwar, in his capacity as an employee of Acorn, had any

responsibility for communications with, or any duty of disclosure to, any SCAF investor,

including the plaintiff.

        The SAC contains new allegations at ¶¶ 18 and 23 that Seidenwar is identified on

loan documentation as a representative of, and contact person for, Putnam Green LLC

and Livingston Acres, LLC and that, in addition to the titles of President and Chief Credit

Officer of Acorn, he at some point prior to the class period, held the title of Managing

Director. As we have previously argued, title alone is not sufficient to establish control.

Plaintiff has not alleged any indicia of actual control against Seidenwar, such as

ownership or contractual rights. There are no new factual allegations from which it can




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reasonably be inferred that Seidenwar had actual power, control or influence over any of

the other defendants or the transactions at issue.

       Paragraph 74 of the SAC contains allegations that purportedly are based upon a

November 28, 2005 email from Seidenwar to Quan with a copy to Bucci discussing the

monitoring of the Petters/PAC loan facility. The only “due diligence” referenced in the

email is due diligence being conducted by DZ Bank of “Acorn/Stewardship.” See

Exhibit A. We submit that a full reading of the email leads to the reasonable inference

that Seidenwar was informing Quan of DZ Bank’s findings and was making suggestions

concerning possible methods of improving the monitoring. However, there is nothing in

the email or any of the factual allegations in the SAC that leads to an inference that

Seidenwar had the authority or power to control the monitoring processes of Acorn. In

fact, the email further supports the fact that Quan solely controlled Acorn in that

Seidenwar is seeking Quan’s agreement with the suggestions he makes in the email. The

email is clearly one of an employee reporting to his employer.

       The remainder of the allegations in ¶ 74 of the SAC are based upon excerpts of

Seidenwar’s testimony that were used as exhibits in SEC v. Quan. One of those

allegations is that Seidenwar discussed the monitoring deficiencies with Quan on at least

two or three occasions. The last sentence in ¶ 74 misstates Seidenwar’s testimony and

takes it out of context. See Exhibit B attached hereto, Seidenwar transcript at p. 86, line

19 through p. 87, line 10. Even as stated in the SAC, the allegation has no bearing upon

actual control of the alleged primary violators or culpable participation in the alleged

primary violations.




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       Additionally, although this paragraph appears under the headings “VI. THE

CLASS PERIOD STATEMENTS AND MATERIAL OMISSIONS OF ADVISORS AND

QUAN” and “A. THE STATEMENTS,” there absolutely is no nexus between the

allegations in this paragraph against Seidenwar and any alleged statements or material

omissions of Advisors and Quan. Despite the fact that the allegations in ¶ 74 of the SAC

contain interjections of conclusory statements related to the contents of the PPMs, the

email from Seidenwar and the Seidenwar testimony cited therein contain no reference to

PPMs or any investor communications.

       As with the Amended Complaint, the SAC continues to assert allegations against

the defendants as a group without providing particularized allegations against Seidenwar.

For instance, in ¶ 111 the allegations are that defendants Acorn, Advisors, SCAF, Quan,

Seidenwar and Bucci failed to disclose information to investors concerning delayed

payments, a forbearance agreement between Acorn and PAC Funding or alleged

roundtrip transactions. Nowhere in the SAC are there any allegations that would lead to a

reasonable inference that Seidenwar had any duty to disclose that information to the

SCAF investors. Moreover, there is not a single allegation that Seidenwar had any

knowledge of the roundtrip transactions. Indeed, the documentary evidence in the form

of emails relating to the roundtrip transactions, show that only Quan and Petters entity

employees were involved in those transactions.

       The most that can be inferred concerning Seidenwar is that in his capacity as an

employee of Acorn, he was aware of the status of the PAC Funding loans and was

involved in attempts to restructure those loans to improve Acorn’s ability to service the

loans, collect on the loans and pay off the note holders.




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          Importantly, there is nothing in the SAC that leads to an inference that Seidenwar

had any duty to disclose or any involvement with or knowledge of what disclosures were

being made to investors in SCAF. Any fiduciary duty of disclosure lay with SCAF and

SIA, as the investment manager of SCAF. Further, the allegations make clear that

everything known to Seidenwar was also know to Quan, who was the managing member

of SIA.

          Paragraph 139 purports to contain allegations related to Seidenwar’s culpable

participation in “the fraud at issue.” However, all of the allegations contained in ¶ 139

address only Seidenwar’s knowledge concerning the asset based lending business in

which he was involved as an employee of Acorn. “The fraud at issue” is the alleged

statements and omissions in the private placement memoranda (“PPMs”) given to

investors by SIA and SCAF. Once again, there is not a single allegation in this

paragraph that implies any knowledge of or involvement with statements made to

investors.

          In order to show “culpable participation,” Plaintiff must plead with particularity

factual allegations that lead to a reasonable inference of, at a minimum, conscious

misbehavior or recklessness on the part of the controlling person. See, Seidenwar Memo

pp. 6 – 8. The new allegations in the SAC clearly do not contain any information from

which it can be inferred that Seidenwar acted recklessly or with conscious misbehavior.

There is not a single allegation that leads to a reasonable inference that Seidenwar knew

or should have known of any alleged fraud with regard to statements or omissions in the

investor communications that constitute the alleged “fraud at issue.” Nor is there any

allegation that Seidenwar participated in or facilitated in anyway any statements made to




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investors. Not only is there no culpable participation relating to investor communications,

there is no participation whatsoever.

       Paragraph 139 does contain a number of allegations that are not substantiated by

the documents upon which they purportedly are based. We already have discussed the

November 28, 2005 email that is referenced in ¶ 139 (a). In ¶ 139 (d), Plaintiff alleges

that “Seidenwar also testified the he knew and understood that Retailers were not sending

their payments to the Lockbox in violation of the Initial Credit Agreement and related

agreements between Acorn and PAC Funding.” (emphasis added). In fact, while it is

true that Seidenwar became aware at some point that payments to the Lockbox were

coming directly from PAC Funding, he did not testify that he understood this to violate

any agreements. He did testify that he had seen this happen in other situations in his

career and that the explanation from Petters about the retailers aggregating payments

made sense and were reasonable and acceptable. See Exhibit B, Seidenwar SEC

testimony pp. 83 – 85.

       Similarly, SAC ¶ 139 (f) and (g) restate and elaborate upon the out of context

final statement in SAC ¶ 74 discussed at page 6 above. We ask the court to compare

these allegations with Seidenwar’s actual testimony in Exhibit B, p. 86, line 19 through p.

87, line 10. In that testimony excerpt, Seidenwar references the general financial crisis

and that “the government almost went bankrupt letting the banks do whatever they did.”

Exhibit B, Seidenwar SEC testimony p. 86, lines 21 – 22. He goes on with a general

discussion indicating that in the asset based lending industry, for loans that are

performing well, some monitoring procedures may not be followed. He then returns to

the general financial crisis stating, “… we’re in the crisis we are today because yes, it’s




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really common.” Exhibit B, Seidenwar testimony p. 87, lines 7 – 8. To which the SEC

examiner asks, “[and] really dangerous?” and Seidenwar responds “[o]bviously.” Exhibit

B, Seidenwar SEC testimony, p. 87, lines 9 – 10. We note that in the SAC the phrase

“really dangerous” spoken by an SEC attorney is translated into “extremely dangerous.”

Moreover, Seidenwar is discussing monitoring generally and is not referring to the

Petters/PAC Funding relationship. In fact, during the same line of questioning,

Seidenwar notes that Acorn had received over “[three] billion in collections [from Petters

entities] … all on a timely basis… until … February ’08.” Exhibit B, Seidenwar SEC

testimony, p. 86, lines 8 – 12.

       We certainly understand that counsel for Plaintiff has a duty to zealously advocate

for its client. However, it has an equal duty to include only allegations that are made in

good faith. We submit that in this case, counsel in its desperate attempt to bring

Seidenwar into this case, has taken substantial liberties in interpreting documents that

speak for themselves. Notably, even were the Court to take the flawed allegations as

stated in the SAC at face value, Plaintiff has failed to provide even a modicum of factual

information that would lead to a reasonable inference of actual control or culpable

participation of Seidenwar. At best, the allegations against Seidenwar, taken as whole,

may be sufficient to plead negligence in the handling of the PAC Funding lending

relationship by Seidenwar’s employer, Acorn. Certainly, the SAC does not sufficiently

plead control person liability for the alleged primary violations set forth in Count I of the

SAC.




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                          II. COUNT IV MUST BE DISMISSED FOR
                             LACK OF FEDERAL JURISDICTION

         The sole basis set forth in the Amended Complaint for jurisdiction over the state

law claims is supplemental jurisdiction pursuant to 28 U.S.C. § 1367. Therefore,

dismissal of the Count II federal claims under the Exchange Act warrants dismissal of the

state law claims in Count IV. Valencia ex rel. Franco v. Lee, 316 F.3rd 299, 305 (2d Cir.

2003).

                                      CONCLUSION

         The SAC must be dismissed as against Seidenwar. Further, given that this is

Plaintiff’s third attempt to draft an adequate Complaint, and the second with allegations

against Seidenwar, we respectfully request that the Court dismiss the SAC against

Seidenwar with prejudice.

                                              DEFENDANT PAUL SEIDENWAR
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